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                Exhibit D
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 SECURITIES AND EXCHANGE COMMISSION,

                                Plaintiff,

                v.                                                      No. 20-cv-10832 (AT)

 RIPPLE LABS INC., BRADLEY GARLINGHOUSE,
 and CHRISTIAN A. LARSEN,

                                Defendants.



       DEFENDANT RIPPLE LABS INC.’S RESPONSES AND OBJECTIONS TO
              PLAINTIFF’S FIRST SET OF INTERROGATORIES

       Pursuant to Rules 26, 33, and 34 of the Federal Rules of Civil Procedure and the Local

Rules of the United States District Courts for the Southern and Eastern Districts of New York

(the “Local Rules”), Defendant Ripple Labs Inc. (“Ripple” or “Defendant”), by and through its

undersigned counsel, hereby objects and responds to Plaintiff’s First Set of Interrogatories to

Defendant Ripple Labs Inc. (“Plaintiffs’ First Set of Interrogatories,” each individually an

“Interrogatory”) dated March 9, 2021.

       Ripple’s responses are made without waiving or intending to waive any objections as to

relevancy, privilege, or admissibility of any information provided in response to Plaintiffs’ First

Set of Interrogatories. A partial answer to any Interrogatory to which Ripple has objected, in

whole or in part, is not intended to be a waiver of the objection.

       These responses are based on the information currently available to Ripple. Ripple

reserves the right to amend, supplement, or modify its responses and objections at any time in the

event that it obtains additional or different information, pursuant to Fed. R. Civ. P. 26(e)(1).
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       The information supplied in these responses is not based solely upon the knowledge of

the executing party, but includes the knowledge of the party, its agents, representatives, and

attorneys, unless privileged.

                                INTRODUCTORY STATEMENT

       Nothing in Ripple’s responses and objections herein shall be construed as a waiver of

Ripple’s rights to: (i) object on the grounds of competency, relevance, materiality, hearsay,

admissibility or any other proper grounds to the use of any information provided in response to

Plaintiffs’ First Set of Interrogatories, or the subject matter thereof, for any purpose, in whole or

in part, in any subsequent stage or proceeding in this or any other action; (ii) object on any and

all grounds, at any time, during any discovery procedure relating to the subject matter of these

documents in this or any other action; (iii) object on any grounds to any request for further

responses to these First Set of Interrogatories or any other discovery requests; or (iv) assert the

attorney-client privilege, the work product doctrine and/or any other applicable privilege or

protections against disclosure.

       All of the General Objections and Objections to Definitions and Instructions set forth

herein are incorporated into each of the Specific Objections and Responses to the individual

Interrogatories set forth below and have the same force and effect as if fully set forth therein.

Without waiving any of the General Objections to the extent they apply to each of the individual

Interrogatories, Ripple may specifically refer to certain General Objections in responding to a

particular Interrogatory. Any objection or lack of an objection to any portion of an individual

Interrogatory shall not be deemed an admission that Ripple can identify information in response

to such Interrogatory.




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                                   GENERAL OBJECTIONS

       1.      Ripple objects to each Interrogatory and to each Definition and Instruction to the

extent that they seek information that is neither relevant to the claims or defenses asserted in this

action nor proportional to the needs of the case, considering the importance of the issues at stake

in the action, the amount in controversy, the parties’ relative access to relevant information, the

parties’ resources, the importance of the discovery in resolving the issues and whether the burden

or expense of the proposed discovery outweighs its likely benefit.

       2.      Ripple objects to each Interrogatory and to each Definition and Instruction to the

extent that they seek information protected from disclosure by the attorney-client privilege, the

work product doctrine or any other applicable privileges, immunities or protections from

disclosure. Any inadvertent disclosure of information protected by the attorney-client privilege,

the work product doctrine or any other applicable privilege, immunity or protection from

disclosure is not intended and should not be construed to constitute a waiver of such privilege,

immunity or protection.

       3.      Ripple objects to each Interrogatory and to each Definition and Instruction on

grounds that they are vague, unduly burdensome and/or overly broad, to the extent that they ask

for the identification of “all documents,” “any lawyer or law firm” or “any person.” Ripple will

identify all documents, lawyers, law firms or persons whom Ripple is aware possess substantial

knowledge or information concerning the subjects of the applicable Interrogatory.

       4.      Ripple objects to each Interrogatory and to each Definition and Instruction to the

extent that they are unreasonably cumulative, duplicative or seek information or documents

obtainable from some other source that is more convenient, less burdensome or less expensive

than the efforts it would take for Ripple to provide the information or documents.




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          5.   Ripple objects to each Interrogatory and to each Definition and Instruction to the

extent that they seek information that are not in the possession, custody or control of Ripple, on

the grounds that such discovery is overly broad, unduly burdensome and in excess of Rule 34 of

the Federal Rules of Civil Procedure.

          6.   Ripple objects to each Interrogatory and to each Definition and Instruction to the

extent they seek information already in the possession, custody or control of Plaintiff or is

obtainable from public sources.

          7.   The failure of Ripple to object to any specific Interrogatory or Definition and

Instruction on a particular ground shall not be construed as a waiver of its rights to object on any

additional ground(s). Ripple reserves the right to amend and/or supplement its objections and

responses at any time consistent with further investigation and discovery.

          8.   Ripple does not concede the relevance, materiality or admissibility of any

information or documents sought in the Interrogatories. Ripple’s responses are without waiver

or limitation of its right to object on grounds of relevance, privilege, admissibility of evidence

for any purpose or any other ground to the use of any information or documents provided or

referred to in its responses, in discovery or in any proceeding, or at the trial of this or any other

action.

          9.   These objections and responses do not constitute, and shall not be interpreted as

Ripple’s agreement with, or admission as to the truth or accuracy of, any legal or factual

characterization or allegation stated or implied in Plaintiff’s Definitions, Instructions or in any of

the individual Interrogatories.




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        10.     Ripple objects to each Interrogatory and to each Definition and Instruction to the

extent they seek to impose obligations on Ripple that go beyond the requirements set forth in the

Federal Rules of Civil Procedure and the Local Rules, including Local Civil Rule 33.3.

        11.     The uniform definitions and rules of construction set forth in Local Civil Rule

26.3 of the Local Rules are incorporated by reference as if fully set forth herein.

               OBJECTIONS TO THE DEFINITIONS AND INSTRUCTIONS

        12.     Ripple objects to the Definitions and Instructions insofar as they depart from the

requirements of the Federal Rules of Civil Procedure and the Local Rules. Ripple will respond

to the Interrogatories in accordance with the requirements of the Federal Rules of Civil

Procedure and the Local Rules.

        13.     Ripple objects to Definition and Instruction No. 9, to the extent it states the

relevant time period for the Interrogatories extends beyond the date of the filing of the complaint

in this action. Events subsequent to Dec. 22, 2020 are [not relevant to any claim or defense] and

therefore Definition and Instruction No. 9 is overly broad, unduly burdensome, not proportionate

to the needs of this litigation and not reasonably calculated to lead to the discovery of relevant or

admissible evidence.

                         SPECIFIC OBJECTIONS AND RESPONSES

INTERROGATORY NO. 1

        Identify the existence, custodian, location, and general description of all
        documents regarding current actual “use[s]” or “functions” of XRP as those terms
        are used in paragraph 1 of your Amended Answer dated March 4, 2021 (D.E. 51)
        (“Answer”) at page 1.

RESPONSE NO. 1

        Ripple incorporates its General Objections and Objections to the Definitions and

Instructions as if fully stated herein.




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       Ripple further objects to this Interrogatory as improper at this time under Local Civil

Rule 33.3(c), as it seeks the claims and contentions of the opposing party prior to the conclusion

of other discovery.

       Ripple also objects to this Interrogatory as it requests information protected by the

attorney-client privilege, the work-product doctrine, or any other applicable privileges or

protections against discovery. Ripple objects to this Interrogatory as overly broad and unduly

burdensome to the extent it calls for an analysis applying law to facts, requiring a statement that

particular uses of XRP are relevant to the Securities Act analysis, theories that are protected by

the attorney work-product doctrine and asks Ripple to explain or analyze how facts support its

defenses and Answer.1

       Ripple further objects to this Interrogatory to the extent it implies any action by Ripple

subsequent to the filing of the complaint in this action is relevant to any claim or defense.

       Ripple also objects to this Interrogatory as duplicative and cumulative of Plaintiff’s

requests for production, which are “a more practical method for obtaining the information

sought.” Local Civil Rule 33.3(b); see also Fed. R. Civ. P. 26(b)(2)(C)(i) (court must limit

discovery that is unreasonably cumulative or duplicative, or can be obtained from some other

source that is more convenient, less burdensome, or less expensive).

       Ripple further objects that Ripple does not have knowledge of all current and potential

“uses” and “functions” of XRP, and such information is outside of Ripple’s possession, custody

or control and/or is already in the possession, custody or control of Plaintiff or obtainable from

1
    Paragraph 1 of Ripple’s Amended Answer, which is quoted in Interrogatory No. 1, states in its entirety: “That
    theory ignores, among many other things, that XRP performs a number of functions that are distinct from the
    functions of ‘securities’ as the law has understood that term for decades. For example, XRP functions as a
    medium of exchange — a virtual currency used today in international and domestic transactions — moving
    value between jurisdictions and facilitating transactions. It is not a security and the SEC has no authority to
    regulate it as one.” (Emphasis added.) Paragraph 1 of Ripple’s Amended Answer states a legal conclusion and
    the Interrogatory impermissibly asks Ripple at this stage to reveal its legal theory underlying that conclusion.




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public sources. See, e.g., Letter from John Deaton on behalf of XRP Holders to Judge Analisa

Torres re: Intention to file Motion to Intervene (Mar. 19, 2021) (D.E. 75) at 4 (Noting “literally

hundreds of developers using XRP and the XRPL[, where] the vast majority of these

developers have never had any contact with Ripple or its executives” among a list of eight

uses for XRP, “a few examples of how XRP Holders utilize XRP without Ripple’s knowledge

or input”) (emphasis added). Ripple further objects on the grounds that this Interrogatory

incorrectly assumes Ripple is the sole party using XRP for utility and/or that Ripple is aware of

all use cases involving XRP and/or the XRPL.

       Subject to and without waiving the foregoing objections, answers to this Interrogatory

can be ascertained from documents being produced in Ripple’s responses to, inter alia,

Plaintiff’s First Set of Document Requests to Defendant Ripple Labs Inc., Request No. 8

(requesting “[a]ll Documents and Communications Concerning ODL”), Request No. 15

(requesting “[a]ll Documents and Communications Concerning any initiatives by xPring to

support the development of uses or infrastructure for XRP and/or the XRP Ledger”), Request

No. 31 (requesting “[a]ll Documents and Communications Concerning the use of XRP for

payment for consumer goods”); and Plaintiff’s Second Set of Document Requests to Defendant

Ripple Labs Inc., Request No. 18 (requesting “[a]ll Documents and Communications Concerning

Ripple’s efforts to develop uses for XRP other than for cross border payments”). Ripple would

also direct Plaintiff to Appendix E of its October 22, 2020, Wells submission for a non-

exhaustive list of XRP use cases.2




2
    See also https://www.xrparcade.com/xrpecosystem/ (third-party compilation of XRP use cases).




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       To the extent not otherwise objected to herein, Ripple will supplement by the close of

discovery any responsive information to the interrogatory it is aware of that was not substantially

disclosed in response to Plaintiff’s requests for production.

INTERROGATORY NO. 2

       Identify each of the “300 customers” referenced in your November 6, 2019
       announcement      available  at   https://ripple.com/insights/ripplenet-growth-
       announcing-more-than-300-customers/.

RESPONSE NO. 2

       Ripple incorporates its General Objections and Objections to the Definitions and

Instructions as if fully stated herein. Ripple further objects to this Interrogatory on the ground

that it is overly broad, not proportional to the needs of the case, and without any apparent

relevance to the litigation, to the extent it seeks the identity of “each of” the 300 customers.

       Subject to and without waiving the foregoing objections, the RippleNet customers

referenced in the November 6, 2019, statement include banks, payment providers, and

infrastructure partners. These entities include Banco Industrial SA; Transatlantica S.A.; SBI

Sumishin Net Bank; Suruga Bank; Pronto Money Transfer Inc.; Remitware Payments, Inc.;

SendFriend; FlashFX; Lemonway; and BTC Markets, among others.

       To the extent not otherwise objected to herein, Ripple will supplement by the close of

discovery any responsive information to the interrogatory it is aware of that was not substantially

disclosed in response to Plaintiff’s requests for production.

INTERROGATORY NO. 3

       Identify any lawyer or law firm with whom Ripple discussed the legal or
       regulatory status of XRP under any legal regime, including but not limited to its
       status as a “security,” a “currency,” or a “commodity” under any U.S. federal,
       state, or local law and the date(s) of such discussion(s).

RESPONSE NO. 3




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        Ripple incorporates its General Objections and Objections to the Definitions and

Instructions as if fully stated herein.

        Ripple further objects to this Interrogatory to the extent it calls for information regarding

matters protected by the attorney-client privilege, the work product doctrine and/or any other

applicable privilege or protections against discovery. Ripple also objects to this Interrogatory as

overly broad, to the extent it requests the identity of “any” lawyer or law firm with whom Ripple

discussed the legal or regulatory status of XRP under “any” legal regime. Ripple also objects to

this Interrogatory to the extent it seeks information outside of Ripple’s possession, custody or

control and/or that is already in the possession, custody or control of Plaintiff or obtainable from

public sources.

        Ripple further objects to this Interrogatory as duplicative and cumulative of Plaintiff’s

requests for production, which are “a more practical method for obtaining the information

sought.” Local Civil Rule 33.3(b); see also Fed. R. Civ. P. 26(b)(2)(C)(i) (court must limit

discovery that is unreasonably cumulative or duplicative, or can be obtained from some other

source that is more convenient, less burdensome, or less expensive).

        Ripple also objects to this Interrogatory as overly broad, unduly burdensome, not

proportionate to the needs of this litigation and not reasonably calculated to lead to the discovery

of relevant or admissible evidence, insofar as it seeks information concerning international legal

regimes not at issue in this action.

        Ripple further interprets this Interrogatory as concerning Ripple’s discussions as a client

with any lawyer or law firm concerning the legal or regulatory status of XRP, and objects to this

Interrogatory to the extent it seeks information that would indicate the specific legal questions

regarding XRP’s status that were posed to legal counsel.




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       Subject to and without waiving the foregoing objections, answers to this Interrogatory

can be ascertained from documents being produced in Ripple’s responses to, inter alia,

Plaintiff’s First Set of Document Requests to Defendant Ripple Labs Inc., RFP No. 23

(requesting “[a]ll Documents and Communications Concerning the legal or regulatory status of

XRP under the U.S. federal securities laws”), RFP No. 25 (requesting “[a]ll Documents and

Communications Concerning any discussions of XRP’s potential or actual status as a ‘currency’

or a ‘convertible virtual currency.’”); Plaintiff’s Second Set of Document Requests to Defendant

Ripple Labs Inc., RFP No. 5 (requesting “[a]ll Documents and Communications Concerning the

legal or regulatory status of XRP under any legal regime”), RFP No. 6 (requesting “[a]ny legal

opinion provided by Ripple to any digital asset trading platform Concerning the legal or

regulatory status of XRP under any legal regime”); and Plaintiff’s Fourth Set of Document

Requests to Defendant Ripple Labs Inc., RFP No. 7 (requesting “[a]ll Documents and

Communications requesting or transmitting any legal opinion or analysis relating to XRP”).

       Subject to and without waiving the foregoing objections, and only to the extent this

Interrogatory seeks a list of the law firms that Ripple has retained to provide it with legal advice

with respect to compliance with legal and regulatory requirements of the United States and

certain international jurisdictions, Ripple identifies the following lawyers and law firms and the

approximate date on which they were retained in response to Interrogatory No. 3:

              Boies Schiller Flexner LLP (2019);

              Debevoise & Plimpton LLP (2018);

              Kellogg, Hansen, Todd, Figel & Frederick: P.L.L.C. (2020);

              King & Spalding LLP (2020);

              Quinn Emanuel Urquhart & Sullivan, LLP (2017);




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               Perkins Coie LLP (2012);

               Paul Hastings LLP (2012);

               Schiff Harden LLP (2015);

               Skadden, Arps, Slate, Meagher & Flom LLP (2018); and

               Wilmer Cutler Pickering Hale and Dorr LLP (2017).

        To the extent not otherwise objected to herein, Ripple will supplement by the close of

discovery any responsive information to the interrogatory it is aware of not substantially

disclosed in response to Plaintiff’s requests for production.

INTERROGATORY NO. 4

        Identify any person or entity who asked Ripple to furnish a legal opinion
        regarding the legal or regulatory status of XRP under any legal regime, including
        but not limited to its status as a “security,” a “currency,” or a “commodity” under
        any U.S. federal, state, or local law and the date(s) of such discussion(s)
        irrespective whether Ripple provided such an opinion.

RESPONSE NO. 4

        Ripple incorporates its General Objections and Objections to the Definitions and

Instructions as if fully stated herein.

        Ripple further objects to this Interrogatory to the extent it calls for information regarding

matters protected by the attorney-client privilege, the work product doctrine and/or any other

applicable privilege or protections against discovery.

        Ripple also objects to this Interrogatory as overly broad, to the extent it requests the

identity of “any” person or entity who asked Ripple to furnish a legal opinion regarding the legal

or regulatory status of XRP under “any” legal regime.




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       Ripple also objects to this Interrogatory to the extent it seeks information outside of

Ripple’s possession, custody or control and/or that is already in the possession, custody or

control of Plaintiff or obtainable from public sources.

       Ripple further objects to this Interrogatory as duplicative and cumulative of Plaintiff’s

requests for production, which are “a more practical method for obtaining the information

sought.” Local Civil Rule 33.3(b); see also Fed. R. Civ. P. 26(b)(2)(C)(i) (court must limit

discovery that is unreasonably cumulative or duplicative, or can be obtained from some other

source that is more convenient, less burdensome, or less expensive).

       Ripple also objects to this Interrogatory as overly broad, unduly burdensome, not

proportionate to the needs of this litigation and not reasonably calculated to lead to the discovery

of relevant or admissible evidence, insofar as it seeks information concerning international legal

regimes not at issue in this action.

       Subject to and without waiving the foregoing objections, answers to this Interrogatory

can be ascertained from documents being produced in Ripple’s responses to, inter alia,

Plaintiff’s First Set of Document Requests to Defendant Ripple Labs Inc.,             RFP No. 23

(requesting “[a]ll Documents and Communications Concerning the legal or regulatory status of

XRP under the U.S. federal securities laws”), RFP No. 25 (requesting “[a]ll Documents and

Communications Concerning any discussions of XRP’s potential or actual status as a ‘currency’

or a ‘convertible virtual currency.’”); Plaintiff’s Second Set of Document Requests to Defendant

Ripple Labs Inc., RFP No. 5 (requesting “[a]ll Documents and Communications Concerning the

legal or regulatory status of XRP under any legal regime”), RFP No. 6 (requesting “[a]ny legal

opinion provided by Ripple to any digital asset trading platform Concerning the legal or

regulatory status of XRP under any legal regime”); and Plaintiff’s Fourth Set of Document




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Requests to Defendant Ripple Labs Inc., RFP No. 7 (requesting “[a]ll Documents and

Communications requesting or transmitting any legal opinion or analysis relating to XRP”).

        Subject to and without waiving the foregoing objections, Defendant identifies the

following entities in response to Interrogatory No. 4:

               CRCM Ventures, on or before January 5, 2015;

               Coinbase, on or before January 11 and July 27, 2018, and on or about January 24,

                2019;

               Bittrex, on or before February 22, February 23, March 22 and May 30, 2018;

               Jump Trading, on or before March 20, 2018;

               SFOX, on or before April 6, 2018;

               CME Group, on or before September 6, 2018; and

               Stone Ridge Asset Management, on or before September 19, 2017.

INTERROGATORY NO. 5

        Identify the existence, custodian, location, and general description of all
        documents regarding your current sales, transfers, or distributions of XRP
        (including the “current distributions” referred to in paragraph 16 of your Answer
        at page 8), including all of your present obligations to sell, distribute, or transfer
        XRP, and including any present intentions to offer, sell, transfer, or distribute
        XRP in the future, or to offer incentives or payments to any third parties with
        respect to XRP.

RESPONSE NO. 5

        Ripple incorporates its General Objections and Objections to the Definitions and

Instructions as if fully stated herein.

        Ripple further objects to this Interrogatory as is overly broad, unduly burdensome, not

proportionate to the needs of this litigation and not reasonably calculated to lead to the discovery




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of relevant or admissible evidence, including because it seeks “all documents” and refers to

“current” activities involving XRP without further specifying a time period.

       Ripple also objects to this Interrogatory as improper at this time under Local Civil Rule

33.3(c), seeking the claims and contentions of the opposing party prior to the conclusion of other

discovery.

       Ripple further objects to this Interrogatory as it requests information protected by the

attorney-client privilege, the work-product doctrine, or any other applicable privileges or

protections against discovery.

       Ripple also objects to this Request to the extent it implies any action by Ripple

subsequent to the filing of the complaint in this action is relevant.

       Ripple further objects to this request to the extent it seeks information that is already in

the possession, custody or control of Plaintiff or is obtainable from public sources.

       Ripple also objects to this Interrogatory as duplicative and cumulative of Plaintiff’s

requests for production, which are “a more practical method for obtaining the information

sought.” Local Civil Rule 33.3(b); see also Fed. R. Civ. P. 26(b)(2)(C)(i) (court must limit

discovery that is unreasonably cumulative or duplicative, or can be obtained from some other

source that is more convenient, less burdensome, or less expensive).

       Subject to and without waiving the foregoing objections, answers to this Interrogatory

can be ascertained from documents being produced in Ripple’s responses to, inter alia,

Plaintiff’s First Set of Document Requests to Defendant Ripple Labs Inc., RFP No. 4 (requesting

[d]ocuments sufficient to identify all amounts provided by Ripple under any agreement regarding

XRP between any Person and Ripple”), RFP No. 7 (requesting “[d]ocuments sufficient to

identify all inflows and outflows of XRP from any digital wallet (either cold and hot) maintained




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or under the control of Ripple”), RFP No. 10 (requesting “[d]ocuments sufficient to identify the

timing, amounts, prices, and counterparties of any purchase or sale of XRP by Ripple”), RFP No.

11 (requesting “[a] complete list of individuals and entities that purchased or received XRP from

Ripple”); Plaintiff’s Second Set of Document Requests to Defendant Ripple Labs Inc., RFP No.

25 (requesting “[a]ll Documents and Communications Concerning any loan (in cash or XRP) to

any Ripple employee.”); and Plaintiff’s Fourth Set of Document Requests to Defendant Ripple

Labs Inc., RFP No. 11 (requesting “[d]ocuments sufficient to identify all ‘programmatic’ sales of

XRP by Ripple”).

         To the extent not otherwise objected to herein, Ripple will supplement by the close of

discovery any responsive information to the interrogatory it is aware of not substantially

disclosed in response to Plaintiff’s requests for production.

Dated:          April 8, 2021
                New York, New York

                                                  DEBEVOISE & PLIMPTON LLP

                                                  By: /s/ Andrew J. Ceresney
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                                  Attorneys for Defendant Ripple Labs Inc.




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                                 CERTIFICATE OF SERVICE

        I, Joy Guo, hereby certify that on April 8, 2021, I served a copy of Defendant Ripple Labs
Inc.’s Responses and Objections to Plaintiff’s First Set of Interrogatories by electronic mail upon
the following:

Dated: April 8, 2021

Jorge G. Tenreiro                                          Martin Flumenbaum
Dugan Bliss                                                Michael E. Gertzman
Daphna A. Waxman                                           Meredith R. Dearborn
Jon A. Daniels                                             Kristina A. Bunting
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